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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

                                  Delaware
 ____________________ District of _________________
                                        (State)
                                                            11
 Case number (If known): _________________________ Chapter _____                                                                   Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           AeroCentury Corp.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used
                                              None
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               9 ___
                                              ___ 4 – ___
                                                      3 ___
                                                          2 ___
                                                             6 ___
                                                                3 ___
                                                                   9 ___
                                                                      7 ___
                                                                         4
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                              1440         Chapin Avenue, Suite 310
                                              ______________________________________________             _______________________________________________
                                              Number     Street                                          Number     Street

                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                              Burlingame,                CA        94010
                                              ______________________________________________             _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                              San Mateo
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                   https://www.aerocentury.com/
                                              ____________________________________________________________________________________________________




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Debtor        AeroCentury Corp.
              _______________________________________________________                          Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          O



                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          
                                          O
                                            None of the above


                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                              § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              5 3
                                              ___         4
                                                      2 ___
                                                  ___ ___

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          
                                          O
                                            Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                          affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                         recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                          income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                            11 U.S.C. § 1116(1)(B).
      check the second sub-box.                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                               less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                               Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                               statement of operations, cash-flow statement, and federal income tax return, or if
                                                               any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                               § 1116(1)(B).

                                                              A plan is being filed with this petition.

                                                              Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                          O
                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                               for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                               12b-2.
                                           Chapter 12




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Debtor          AeroCentury Corp.
                _______________________________________________________                       Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases         No
                                           O

       filed by or against the debtor
       within the last 8 years?            Yes.     District _______________________ When _______________ Case number _________________________
                                                                                           MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                                District _______________________ When _______________ Case number _________________________
                                                                                           MM / DD / YYYY

 10.   Are any bankruptcy cases            No
       pending or being filed by a                           See rider attached hereto as Rider 1.
       business partner or an             
                                          O
                                            Yes.     Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                      District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                         MM / DD / YYYY
       attach a separate list.                       Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                          
                                          O
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have        
                                          O
                                            No
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard? _____________________________________________________________________

                                                       It needs to be physically secured or protected from the weather.

                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                       Other _______________________________________________________________________________



                                                    Where is the property?_____________________________________________________________________
                                                                              Number          Street

                                                                              ____________________________________________________________________

                                                                              _______________________________________         _______ ________________
                                                                              City                                            State ZIP Code


                                                    Is the property insured?
                                                       No
                                                       Yes. Insurance agency ____________________________________________________________________

                                                             Contact name     ____________________________________________________________________

                                                             Phone            ________________________________




               Statistical and administrative information




 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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Debtor         AeroCentury Corp. ________________________________
               _______________________                                                           Case number (if known)_____________________________________
               Name




 13.   Debtor’s estimation of            Check one:
       available funds                    Funds will be available for distribution to unsecured creditors.
                                          O


                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

 14. Estimated     number of              1-49                                1,000-5,000                                25,001-50,000
       creditors                          50-99                               5,001-10,000                               50,001-100,000
       (on a consolidated basis)          100-199                             10,001-25,000                              More than 100,000
                                         
                                         O
                                           200-999

                                          $0-$50,000                          $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated        assets              $50,001-$100,000                    $10,000,001-$50 million                    $1,000,000,001-$10 billion
       (on a consolidated basis)
                                          $100,001-$500,000                   $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                
                                                                              O
                                                                                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                          $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated     liabilities            $50,001-$100,000                    $10,000,001-$50 million                    $1,000,000,001-$10 billion
       (on a consolidated basis)          $100,001-$500,000                   $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                 $100,000,001-$500 million
                                                                               O
                                                                                                                           More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                              petition.
       debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                           03/29/2021
                                              Executed on _________________
                                                          MM / DD / YYYY


                                          /s/ Harold M. Lyons
                                              _____________________________________________                 Harold M. Lyons
                                                                                                           _________________________ ______________________
                                              Signature of authorized representative of debtor             Printed name

                                                     Chief Financial Officer
                                              Title _____________________ ____________________




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Debtor        AeroCentury    Corp.
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                        /s/ Joseph M. Barry
                                            _____________________________________________            Date        03/29/2021
                                                                                                                _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY



                                           Joseph M. Barry
                                           _________________________________________________________________________________________________
                                           Printed name
                                            Young Conaway Stargatt & Taylor, LLP
                                           _________________________________________________________________________________________________
                                           Firm name
                                           1000  N. King Street
                                           _________________________________________________________________________________________________
                                           Number         Street
                                            Wilmington
                                            ____________________________________________________           DE
                                                                                                           ____________ 19801
                                                                                                                        ______________________________
                                           City                                                            State        ZIP Code

                                            (302) 571-6600
                                           ____________________________________                             jbarry@ycst.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                            4221                                                           DE
                                           ______________________________________________________ ____________
                                           Bar number                                             State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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                                   RIDER 1 TO VOLUNTARY PETITIONS

                               Pending Bankruptcy Cases Filed by Affiliated Entities

                  On the date hereof, each of the related entities listed below, including the debtor in this
         chapter 11 case (collectively, the “Debtors”), will file or have filed a petition with the Court for
         relief under title 11 of the United States Code, 11 U.S.C. §§ 101–1532. Contemporaneously with
         the filing of their voluntary petitions, the Debtors are filing a motion requesting that the Court
         consolidate their chapter 11 cases for administrative purposes only.

         The Debtors are the following entities (along with their federal tax identification numbers):

         AeroCentury Corp. (XX-XXXXXXX)

         JetFleet Holding Corp. (XX-XXXXXXX)

         JetFleet Management Corp. (XX-XXXXXXX)




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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF DELAWARE
         ----------------------------------------------------------x
                                                                   :
         In re                                                     :
                                                                   : Chapter 11
         AEROCENTURY CORP., et al.,                                :
                                                                   : Case No. 21-           (__)
                                     1
                           Debtors.                                :
                                                                   : (Joint Administration Requested)
         ----------------------------------------------------------x

                  ATTACHMENT TO VOLUNTARY PETITION FOR NON-INDIVIDUALS
                        FILING FOR BANKRUPTCY UNDER CHAPTER 11

               1.     If any of the debtor’s securities are registered under Section 12 of the Securities
         Exchange Act of 1934, the SEC file number is 000-1036848. Only the securities of Debtor
         AeroCentury Corp. are registered under section 12 of the Securities Exchange Act of 1934.

                2.      The following financial data is the latest available information and refers to the
         debtor’s condition on September 30, 2020:

                           a.       Total assets: $121,020,700 2

                           b.       Total debts (including debts listed in 2.c., below): $124,651,300 3

                           c.       Debt securities held by more than 500 holders: None.

                           d.       Number of shares of preferred stock: 0

                           e.       Number of shares of common stock: 1,545,884 (as of September 30, 2020)

                           Comments, if any: None.

                 3.      Brief description of the debtor’s business: The Debtor is engaged in the business of
         investing in used regional aircraft equipment and leasing the equipment to foreign and domestic
         regional air carriers.




         1
           The Debtors in these chapter 11 cases, along with the last four digits of their federal employer identification number,
         are: AeroCentury Corp. (3974); JetFleet Holding Corp. (5342); and JetFleet Management Corp. (0929). The Debtors’
         mailing address is 1440 Chapin Avenue, Suite 310, Burlingame, CA 94014.
         2
           This figure represents Total Assets of AeroCentury Corp. as presented in the September 30, 2020 Form 10-Q and is
         on a consolidated basis for the Debtors and non-Debtor affiliates.
         3
           This figure represents Total Debt of AeroCentury Corp. as presented in the September 30, 2020 Form 10-Q and is
         on a consolidated basis for the Debtors and non-Debtor affiliates.
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                4.     List of the names of any person who directly or indirectly owns, controls, or holds,
         with power to vote, 5% or more of the voting securities of the debtor: The only holder of more
         than 5% of AeroCentury Corp.’s common stock is Toni M. Perazzo.




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                                                         2
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                                       UNANIMOUS WRITTEN CONSENT
                                        OF THE BOARD OF DIRECTORS
                                                   OF
                                            AEROCENTURY CORP.

                                                    March 29, 2021

                    THE UNDERSIGNED, being all of the members of the Board of Directors (the
             “Board”) of AeroCentury Corp., a Delaware corporation (the “Company”), hereby
             unanimously consent in writing, as permitted by section 141(f) of the Delaware General
             Corporation Law, to the adoption of the following resolutions:

                     WHEREAS, the Board has reviewed and considered the financial and operational
             condition of the Company and the Company’s business on the date hereof, including the
             historical performance of the Company, the assets of the Company, the current and long-
             term liabilities of the Company, the market for the Company’s assets, credit market
             conditions, and macroeconomic conditions impacting the Company; and

                     WHEREAS, the Board has received, reviewed and considered the
             recommendations of the senior management of the Company and the Company’s legal,
             financial, and other advisors as to the relative risks and benefits of pursuing a bankruptcy
             proceeding under the provisions of chapter 11 of Title 11 of the United States Code, 11
             U.S.C. §§ 101-1532 (the “Bankruptcy Code”).

                    NOW, THEREFORE, BE IT

                    Commencement and Prosecution of Bankruptcy Case

                     RESOLVED, that, in the judgment of the Board, it is desirable and in the best
             interests of the Company, its creditors, stockholders and other interested parties, that a
             voluntary petition (the “Petition”) be filed by the Company in the United States Bankruptcy
             Court for the District of Delaware (the “Bankruptcy Court”) commencing a case (the
             “Bankruptcy Case”) under the provisions of chapter 11 of the Bankruptcy Code; and it is
             further

                    RESOLVED, that each duly appointed officer of the Company (each, an
             “Authorized Person” and collectively, the “Authorized Persons”) be, and each of them,
             acting alone or in any combination, hereby is, authorized, directed and empowered, on
             behalf of the Company, to execute, acknowledge, deliver, and verify the Petition and to
             cause the same to be filed with the Bankruptcy Court at such time as such Authorized
             Person may determine; and it is further

                    RESOLVED, that the Authorized Persons be, and each of them, acting alone or in
             any combination, hereby is, authorized, directed and empowered on behalf of the
             Company, to execute, acknowledge, deliver and verify and file any and all petitions,
             schedules, statements of affairs, lists and other papers and to take any and all related actions


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             that such Authorized Persons may deem necessary or proper in connection with the filing
             of the Petition and commencement of the Bankruptcy Case; and it is further

                     RESOLVED, that the Authorized Persons be, and each of them, acting alone or in
             any combination, hereby is, authorized, directed and empowered, from time to time in the
             name and on behalf of the Company, to perform the obligations of the Company under the
             Bankruptcy Code, with all such actions to be performed in such manner, and all such
             certificates, instruments, guaranties, notices and documents to be executed and delivered
             in such form, as the Authorized Person performing or executing the same shall approve,
             and the performance or execution thereof by such Authorized Person shall be conclusive
             evidence of the approval thereof by such Authorized Person and by the Company; and it is
             further

                     RESOLVED, that the Authorized Persons be, and each of them, acting alone or in
             any combination, hereby is, authorized, directed and empowered from time to time in the
             name and on behalf of the Company, to cause the Company to enter into, execute, deliver,
             certify, file, record and perform such agreements, instruments, motions, affidavits,
             applications for approvals or rulings of governmental or regulatory authorities, certificates
             or other documents, to pay all expenses, including filing fees, and to take such other
             actions, as in the judgment of such Authorized Persons, shall be necessary, proper and
             desirable to prosecute to a successful completion the Bankruptcy Case and to effectuate the
             restructuring or liquidation of the Company’s debt, other obligations, organizational form
             and structure and ownership of the Company, all consistent with the foregoing resolutions
             and to carry out and put into effect the purposes of these resolutions, and the transactions
             contemplated by these resolutions, their authority thereunto to be evidenced by the taking
             of such actions; and it is further

                    Retention of Professionals

                      RESOLVED, that the law firm of Morrison & Foerster LLP (“Morrison &
             Foerster”) be, and hereby is, authorized, directed and empowered to represent the Company
             as general bankruptcy counsel to represent and assist the Company in carrying out its duties
             under the Bankruptcy Code, and to take any and all actions to advance the Company’s
             rights, including the preparation of pleadings and filings in its Bankruptcy Case; and in
             connection therewith, the Authorized Persons be, and each of them, acting alone or in any
             combination, hereby is, authorized, directed and empowered, on behalf of and in the name
             of the Company to execute appropriate retention agreements, pay appropriate retainers
             prior to and immediately upon the filing of the Bankruptcy Case, and to cause to be filed
             an appropriate application for authority to retain the services of Morrison & Foerster; and
             it is further

                    RESOLVED, that the law firm of Young Conaway Stargatt & Taylor, LLP
             (“Young Conaway”) be, and hereby is, authorized, directed and empowered to represent
             the Company as Delaware bankruptcy counsel to represent and assist the Company in
             carrying out its duties under the Bankruptcy Code, and to take any and all actions to
             advance the Company’s rights, including the preparation of pleadings and filings in its
             Bankruptcy Case; and in connection therewith, the Authorized Persons be, and each of

                                                          2
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             them, acting alone or in any combination, hereby is, authorized, directed and empowered,
             on behalf of and in the name of the Company to execute appropriate retention agreements,
             pay appropriate retainers prior to and immediately upon the filing of the Bankruptcy Case,
             and to cause to be filed an appropriate application for authority to retain the services of
             Young Conaway; and it is further

                     RESOLVED, that B. Riley Financial, Inc. (“B. Riley”) be, and hereby is,
             authorized, directed and empowered to serve as investment banker to represent and assist
             the Company in connection with the potential [restructuring/sale] of the Company’s
             business and in carrying out its duties under the Bankruptcy Code and to take any and all
             actions to advance the Company’s rights and obligations in connection with the Bankruptcy
             Case; and in connection therewith, the Authorized Persons be, and each of them, acting
             alone or in any combination, hereby is, authorized, directed, and empowered, on behalf of
             and in the name of the Company, to execute appropriate retention agreements, pay
             appropriate retainers, if required, prior to and immediately upon the filing of the
             Bankruptcy Case, and to cause to be filed an appropriate application for authority to retain
             the services of Gower; and it is further

                     RESOLVED, that Kurtzman Carson Consultants LLC (“KCC”) be, and hereby is,
             authorized, directed and empowered to serve as the notice, claims, solicitation and balloting
             agent in connection with the Bankruptcy Case; and in connection therewith, the Authorized
             Persons be, and each of them, acting alone or in any combination, hereby is, authorized,
             directed and empowered, on behalf of and in the name of the Company to execute
             appropriate retention agreements, pay appropriate retainers, if required, prior to and
             immediately upon the filing of the Bankruptcy Case, and to cause to be filed an appropriate
             application for authority to retain the services of KCC; and it is further

                     RESOLVED, that the Authorized Persons be, and each of them, acting alone or in
             any combination, hereby is, authorized, directed and empowered, on behalf of and in the
             name of the Company to employ any other individual and/or firm as professionals,
             consultants, financial advisors, or investment bankers to the Company as are deemed
             necessary to represent and assist the Company in carrying out its duties under the
             Bankruptcy Code, and in connection therewith, the Authorized Persons be, and each of
             them, acting alone or in any combination, hereby is, authorized, directed and empowered,
             on behalf of and in the name of the Company to execute appropriate retention agreements,
             pay appropriate retainers prior to and immediately upon the filing of the Bankruptcy Case,
             and to cause to be filed an appropriate application for authority to retain the services of
             such firms; and it is further

                    Postpetition Financing

                     RESOLVED, that the Authorized Persons be, and each of them, acting alone or in
             any combination, hereby is, authorized, directed and empowered, on behalf of and in the
             name of the Company, to obtain post-petition financing according to terms negotiated, or
             to be negotiated, by the management of the Company, relating to the use of cash collateral;
             and to enter into any guarantees and to pledge and grant liens on its assets as may be
             contemplated by or required under the terms of such post-petition financing or cash

                                                          3
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             collateral agreements; and in connection therewith, the Authorized Persons be, and each of
             them, acting alone or in any combination, hereby is authorized, directed and empowered
             to execute appropriate loan agreements, cash collateral agreements and related ancillary
             documents; and it is further

                     RESOLVED, that the Authorized Persons be, and each of them, acting alone or in
             any combination, hereby is, authorized, directed and empowered, on behalf of and in the
             name of the Company, to secure the payment and performance of any post-petition
             financing by (i) (a) pledging or granting liens or mortgages on, or security interests in, all
             or any portion of the Company’s assets, including all or any portion of the issued and
             outstanding membership interests of any subsidiaries of the Company, whether now owned
             or hereafter acquired, and (b) causing any subsidiary of the Company to pledge or grant
             liens or mortgages on, or security interests in, all or any portion of such subsidiary’s assets,
             whether now owned or hereafter acquired, and (ii) entering into or causing to be entered
             into, including, without limitation, causing any subsidiaries of the Company to enter into,
             such credit agreements, guarantees, other debt instruments, security agreements, pledge
             agreements, control agreements, inter-creditor agreements, mortgages, deeds of trust, and
             other agreements as are necessary, appropriate or desirable to effectuate the intent of, or
             matters reasonably contemplated or implied by, this resolution in such form, covering such
             collateral and having such other terms and conditions as are approved or deemed necessary,
             appropriate, or desirable by the Authorized Person executing the same, the execution
             thereof by such Authorized Person to be conclusive evidence of such approval or
             determination; and it is further

                    Sale Transaction

                      RESOLVED that the Stalking Horse Asset Purchase Agreement between the
             Company and Drake Asset Management Jersey Limited (the “Stalking Horse APA”) shall
             be entered into by the Company; and the Authorized Persons are, and each of them hereby
             is, authorized and directed to enter into the Stalking Horse APA and each of the ancillary
             documents to be entered into in connection therewith (the “Transaction Documents”), and
             to perform the transactions and obligations contemplated by the Stalking Horse APA and
             the Transaction Documents, subject to: (i) Bankruptcy Court approval in the Company’s
             Bankruptcy Case, and (ii) the Company receiving higher or better offers through a court-
             supervised auction and sale process pursuant to section 363 of the Bankruptcy Code; and
             it is further

                     RESOLVED that each Authorized Person be, and hereby are, authorized,
             empowered, and directed to execute and file on behalf of the Company all schedules, lists,
             and other motions, papers, or documents, and any other agreements or amendments related
             thereto or required thereby in respect to the sale of certain or all of the assets of the
             Company pursuant to sections 105, 363, and 365 of the Bankruptcy Code, and to take any
             action they deem necessary or advisable to effect such sale, the execution thereof to be
             conclusive evidence of such approval and determination.




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                    General Resolutions

                    RESOLVED, that all actions heretofore taken, and all agreements, instruments,
             reports and documents executed, delivered or filed through the date hereof, by any
             Authorized Person of the Company in, for and on behalf of the Company, in connection
             with the matters described in or contemplated by the foregoing resolutions, are hereby
             approved, adopted, ratified and confirmed in all respects as the acts and deeds of the
             Company as of the date such action or actions were taken; and it is further

                     RESOLVED, that this unanimous written consent of the Board may be executed
             in multiple counterparts, each of which shall be considered an original and all of which
             shall constitute one and the same instrument; and it is further

                    RESOLVED, that the executed copy of this unanimous written consent of the
             Board shall be filed with the minutes of the proceedings of the Board.




                                            [Signature Page Follows]




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                           IN WITNESS WHEREOF, the undersigned have executed and delivered this
               Unanimous Written Consent of the Board of Directors as of the date first written above.



                                                               ________________________________
                                                               Toni M. Perazzo
                                                               Chairman


                                                               ________________________________
                                                               David Paul Wilson
                                                               Director


                                                               ________________________________
                                                               Michael Gerhard Magnusson
                                                               Director


                                                               ________________________________
                                                               Roy E. Hahn
                                                               Director


                                                               ________________________________
                                                               Evan M. Wallach
                                                               Director




    Unknown
    document
                                  AeroCentury Corp. – Signature Page to Board Consent (ch. 11 filing)
    property
    name.
                          Case 21-10636-JTD             Doc 1       Filed 03/29/21        Page 15 of 23




                                 IN THE UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF DELAWARE
         ---------------------------------------------------------------
                                                                   x
                                                                   :
         In re                                                     :
                                                                   : Chapter 11
         AEROCENTURY CORP., et al.,                                :
                                                                   : Case No. 21-               (__)
                                      1
                           Debtors.                                :
                                                                   : (Joint Administration Requested)
         ---------------------------------------------------------------
                                                                   x

                         CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
                              AND LIST OF EQUITY SECURITY HOLDERS


                  Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy

         Procedure, AeroCentury Corp. and its affiliated debtors and debtors in possession in the above-

         captioned cases (each, a “Debtor” and, collectively, the “Debtors”) hereby state as follows:

                  1.       Debtor AeroCentury Corp. (“AeroCentury”) is a publicly traded company. Toni M.

         Perazzo is the only individual or entity that owns more than 10% of the equity ownership interests

         in AeroCentury. Ms. Perazzo owns 21.2% of AeroCentury’s outstanding common stock. A list of

         all equity security holders of AeroCentury is attached hereto as Exhibit A.

                  2.       Debtor JetFleet Holding Corp. (“JHC”) is a wholly owned subsidiary of

         AeroCentury.

                  3.       Debtor JetFleet Management Corp. is a wholly owned subsidiary of JHC.




         1
           The Debtors in these chapter 11 cases, along with the last four digits of their federal employer identification
         number, are: AeroCentury Corp. (3974); JetFleet Holding Corp. (5342); and JetFleet Management Corp. (0929).
         The Debtors’ mailing address is 1440 Chapin Avenue, Suite 310, Burlingame, CA 94010.
26891468.2
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                                      Exhibit A

                 List of Equity Security Holders of AeroCentury Corp.




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                                                                                             Case 21-10636-JTD               Doc 1              Filed 03/29/21                        Page 17 of 23


              Name                               Name/1st Line Address                 2nd Line Address   3rd Line Address                 4th Line Address                5th Line Address                 6th Line Address             City     State      Zip       Total Shares
CEDE & CO                                                                                                                    PO BOX 20                        BOWLING GREEN STATION                                            NEW YORK           NY           10274      1,131,307
JOHN H. WOODWARD                                                                                                             8813 E PARKMONT DR                                                                                WICHITA            KS      67207-5417            200
LAWRENCE FALATER &                   DELPHINE FALATER JT TEN                                                                 PO BOX 81                                                                                         ALLEN              MI      49227-0081              6
GEORGE GREENWOOD                                                                                                             450 VERONA PL                                                                                     HOLLISTER          CA      95023-7124             45
JOYCE L GRIEVE                                                                                                               1472 72ND RD                                                                                      UDALL              KS      67146-7514             59
KEVIN D GRUYS &                      HOLLYN D GRUYS JT TEN                                                                   11309 SIBLEY DR                                                                                   BURNSVILLE         MN      55337-1161             23
RICHARD E. FRAUENZIMMER                                                                                                      5341 DANZA PLZ                                                                                    YORBA LINDA        CA      92886-4026             23
MARION J. GUNSALUS                   DALE F. GUNSALUS, JTWROS                                                                153 BAYMEADE LN                                                                                   MAPLE HILL         NC      28454-7532          1,856
LAWRENCE E DENTON                                                                                                            2948 PIERSON WAY                                                                                  LAKEWOOD           CO      80215-7136             70
ADELE DIENER                                                                                                                 293 E PALISADE AVE                                                                                ENGLEWOOD          NJ      07631-3147            728
NOBUKO K DORREN                      TR U/A 03/12/90                     FBO DORREN FAMILY TRUST B                           6130 W FLAMINGO RD # 127                                                                          LAS VEGAS          NV      89103-2280            912
NOBUKO K DORREN                      TR U/A 03/12/90                     FBO DORREN FAMILY TRUST A                           6130 W FLAMINGO RD # 127                                                                          LAS VEGAS          NV      89103-2280            912
IONA S HAND TTEE UA 09/27/94 FBO     FBO IONA S HAND TRUST                                                                   4197 ROAD 220                                                                                     ANTWERP            OH      45813-9140            728
ERLE S HANSEN SUCC TTEE              JEROME B HANSEN LIVING TRUST                                                            1541 OWEN AVE                                                                                     RACINE             WI      53403-2144            364
EDYTHE K HARMON & SARA JO DAVIS &    ELIZABETH KATHLEEN ALLEN JT TEN                                                         1309 OLD JANAL RANCH RD                                                                           CHULA VISTA        CA      91915-1604            270
JARELYN EMERSON                      WILLIAM EMERSON, JTWROS                                                                 112 SURRY AVE                                                                                     TROY               AL      36081-4011            364
MARJORIE D BLENDEN TTEE              LEONARD DIENER TRUST                FBO ALLAN BLENDE                                    183 EXETER WAY                                                                                    HILLSIDE           NJ      07205-2901            400
ALLEN M. BOAZ                                                                                                                PO BOX 741                                                                                        PARAMOUNT          CA      90723-0741             91
F. DANIEL BOHN                       MARY J. BOHN                                                                            1251 MEAD RD                                                                                      ROCHESTER HILLS    MI      48306-3523             91
LINDA LAVERNE BORTHS                                                                                                         1887 17TH AVE                                                                                     KENOSHA            WI      53140-1627            168
DOROTHY C BOS TTEE U/A 06/21/94      FBO DOROTHY C BOS TRUST                                                                 1674 SPAULDING AVE SE                                                                             GRAND RAPIDS       MI      49546-6340             98
WILLIAM J BOS JR                                                                                                             1576 SPAULDING AVE SE                                                                             GRAND RAPIDS       MI      49546-6339            173
RUTH BREIMOEN                                                                                                                712 45TH ST APT 2A                                                                                BROOKLYN           NY      11220-1571             23
ROBERT G. CORNELIUS                  CAROL L. CORNELIUS, JTWROS                                                              17 MCCORMICK DR                                                                                   COZAD              NE      69130-1061             91
LEWIS V BULLARD &                    JEANNE L BULLARD JT TEN                                                                 13509 PINE HARBOR RD                                                                              CHARLOTTE          NC      28278-7335             91
BETH D. CRAWFORD                                                                                                             1717 HIGHWAY 61                                                                                   COLUMBIANA         AL      35051-5249             46
DARLINE D AKRE                                                                                                               14214 W EXPOSITION DR                                                                             LAKEWOOD           CO      80228-2340             91
LOIS H CAMPBELL                                                                                                              2027 ADELSHIEM CIR SW                                                                             CULLMAN            AL      35055-5577          4,207
DORENE E. CANFIELD                   RREN P. MCCLESKEY, JTWROS                                                               CHICKADEE PROPERTIES             TIFFANY LANDRU                     11232 COUNTRY ROAD M          CRANDON            WI           54520             23
LINDSEY DALE CANTRELL                                                                                                        494 LUTHER DUTTON RD                                                                              JASPER             AL      35504-4715            215
DENE TATE BRIDGETTE TATE BAXTER &    TIFFANI TATE JT TEN                                                                     314 BUCCANEER ST                                                                                  HOT SPRINGS        AR      71913-8437            364
LILY NIH TSONG                                                                                                               220 MAGNOLIA ST                                                                                   COSTA MESA         CA      92627-2805            135
MICAH TUMERKAN                                                                                                               1285 S IDAHO RD                                                                                   APACHE JUNCTION    AZ      85119-6422             91
JUDY VOUDOURIS                                                                                                               2140 TURNBULL CANYON RD                                                                           HACIENDA HEIGHTS   CA      91745-4015             23
KAREN ROOKER                                                                                                                 1352 HERMOSA AVE                                                                                  PACIFICA           CA      94044-4144            444
KATHLEEN SAKOWSKI TTEE               FBO KATHLEEN SAKOWSKI TRUST                                                             C/O GAYLE SAKOWSKI, TRUSTEE      265 RISHELL DR                                                   OAKLAND            CA      94619-2367          1,820
NORENE K. SHIPMAN                                                                                                            270 CHESTNUT ST                                                                                   PAINESVILLE        OH      44077-2719            328
CARL F SIMMONS &                     MARY C SIMMONS JT TEN                                                                   216 HILLSIDE DR                                                                                   CHICKASAW          AL      36611-1214            148
MARY JEAN SIMONEAU                                                                                                           RALPH DAVID SIMONEAU, JTWROS     17 BROOKSHIRE RD                                                 HYANNIS            MA      02601-3021            182
ELSA E. STARNES                                                                                                              6325 E PINECONE DR                                                                                IDAHO FALLS        ID      83401-5856            142
MARJORIE H LEIGH &                   KENISON R MARSH JT TEN                                                                  C/O BOBBIE L MCCURRY             1699 POINSETTA DR                                                MARIETTA           GA      30062-1957            464
E. LEO & E. JUNE PERKINS &           KAREN L DA JT TEN                                                                       108 POPLAR LOOP                                                                                   PETAL              MS      39465-6812             41
E. LEO & E. JUNE PERKINS &           KENNETH E PERKINS JT TEN                                                                108 POPLAR LOOP                                                                                   PETAL              MS      39465-6812             41
DEEARLE M. LOGSDON                                                                                                           HOLLY SPRING FARM                543 GERLOFF RD                                                   SCHWENKSVILLE      PA      19473-1428            364
ILA W NESTOR TR                      UA DTD 09/13/95                     ILA W NESTOR TRUST                                  C/O BECKY GORCZYCA               706 IVAN DR                                                      KENT               OH      44240-4418            546
M. CAROLYN MASTERS                                                                                                           604 RIVER AVE SW                                                                                  ROME               GA      30161-4769            501
LARRY MATHEWSON                                                                                                              12725 FESSNER RD                                                                                  CARLETON           MI      48117-9213             18
ROBERT C JONES &                     JUNE C JONES JT TEN                                                                     10896 PADDOCK DR                                                                                  WALTON             KY      41094-7433             24
WILLIAM MATTHIAS JR &                EVELYN MATTHIAS JT TEN                                                                  6924 W LAKESIDE DR                                                                                LITTLETON          CO      80125-9626            205
JUNE MATVICHUK                                                                                                               5856 HICKORY RIDGE DR SW                                                                          WYOMING            MI      49418-8339            298
MARY BIALIK OR                                                                                                               ROSEMARY ASMUS, JTWROS           2398 GLEN VALLEY DR NW                                           GRAND RAPIDS       MI      49544-1730            182
MERRILL OSBORN                                                                                                               27803 W 61ST ST S                                                                                 SAND SPRINGS       OK      74063-6618             20
OPPOSSUM RIDGE FARMS, G.P.                                                                                                   134 CURRY RD                                                                                      HOLLANDALE         MS      38748-9719          1,820
CYNTHIA S H WITTKE                                                                                                           1555 SUMNER ST                                                                                    WAUSAU             WI      54403-9226            226
MARLENE S. YLITALO, CUST                                                                                                     FBO EDWIN D. YLITALO             30835 COUNTY ROAD 581                                            ISHPEMING          MI      49849-9248             23
MARTIN ZERNICKE                      JOYCE ZERNICKE, JTWROS                                                                  3304 N 20TH AVE                                                                                   WAUSAU             WI      54401-1812            741
MARK M. ZUST                         CHRISTINE W. ZUST, JTWROS                                                               2963 LAURA LN                                                                                     WESTLAKE           OH      44145-5529             91
MARTIN F NOPPER                                                                                                              3372 MIDDLE PLANTATION QUAY                                                                       VIRGINIA BEACH     VA      23452-6141             37
JANICE CANTRELL WASHBURN                                                                                                     5144 HIGHWAY 102                                                                                  TOWNLEY            AL      35587-3800            126
HELENE M. KOTOWSKI                   IRENE E. CAMPANA, JTWROS                                                                18844 SUMMERSONG DR                                                                               HUDSON             FL      34667-5553          1,092
MICHAEL J. LESCURE                   SUZANNE M. LESCURE                                                                      C/O LESCURE COMP.                2301 ARNOLD INDUSTRAIL WAY STE C                                 CONCORD            CA           94520             32
DIRECTOR OF FINANCE STATE OF         HAWAII UNCLAIMED PROP BRANCH                                                            250 S HOTEL STREET ROOM 304                                                                       HONOLULU           HI           96813            297
NORMA HOUGH                                                                                                                  5300 POINSETTA AVE                                                                                WINTER PARK        FL      32792-7234            949
PERSHING LLC FBO                     CHRISTINE A BUDZYNSKI                                                                   ONE PERSHING PLAZA                                                                                JERSEY CITY        NJ            7399            741
CFP EMPLOYMENT RETIREMENT PLAN       FBO NEAL D CRISPIN                                                                      1440 CHAPIN AVE STE 310                                                                           BURLINGAME         CA      94010-4011          5,932
AMOS G BYINGTON                                                                                                              133 E MAIN ST                                                                                     IRWINTON           GA      31042-2603          1,186
ROGER A. POPE                                                                                                                227 LYNNE LANE                                                                                    BELVIDERE          IL      61008-2415            582
LEO J KRYNSKI                                                                                                                805 PARCHER ST # 3                                                                                WAUSAU             WI      54403-3278            741
MARJORIE H LEIGH &                   GLENN K MARSH JTWROS                                                                    C/O RUSSELL MARSH                85 BURNHAM ST                                                    BIRMINGHAM         AL      35242-1803            296
BONNIE HOWITZ                                                                                                                22101 LANCREST CT                                                                                 FARMINGTON HILLS   MI      48335-5805             91
MILDRED B FITCH TTEE                 U/A DTD 05/22/91 FBO                THE FITCH TRUST                                     21145 CARDINAL POND TERRACE      APT 113                                                          ASHBURN            VA           20147            546
MICHAEL STEIN &                      ANNE STEIN JTWROS                                                                       358 ELM ST                                                                                        WEST HEMPSTEAD     NY      11552-3223            148
BETTY J DAY                                                                                                                  7166 ASPEN GLEN LN                                                                                COLORADO SPRINGS   CO      80919-3022             23
RICHARD A SITTERLEY &                JUDY M SITTERLEY JTWROS                                                                 345 ARBUCKLE RD                                                                                   COLTON             NY           13625            728
THOMAS D FRAIOLI                     VIKKI V FRAIOLI COMM PROP                                                               1416 SHOSHONE PL                                                                                  MODESTO            CA      95358-1353            218
GLORIA I. BROWN                      MILDRED H. CAMPHAUSEN                                                                   4215 W MESCAL ST                                                                                  PHOENIX            AZ           85029             91
JEFFERY C & DELORES H EVANS JTWROS                                                                                           207 SEA HORSE DR                                                                                  SWANSBORO          NC      28584-9331             68
BRADY L CAMPBELL &                   LOIS H CAMPBELL JTWROS                                                                  49 COUNTY ROAD 255                                                                                CULLMAN            AL      35057-4039          1,483
RICHARD L BARTLETT & YVONNE B BART   FBO THE BARTLETT FAMILY TRUST                                                           2343 HAMPSHIRE CT                                                                                 FORT COLLINS       CO      80526-1493            182
ED PRATHER                           SARAH PRATHER JTWROS                                                                    344 COUNTY ROAD 1500                                                                              CULLMAN            AL      35058-0622            728
ELLEN D PARTAIN CUST                 FBO TONI RAELYNN PARTAIN UGMA                                                           52507 E 240 RD                                                                                    AFTON              OK      74331-6396             23
DALE E LARSON CUST                   FBO BENJAMIN D LARSON UNDER THE     WI UNIF GIFT MIN ACT                                1516 E ORCHARD BEACH LN                                                                           RICE LAKE          WI      54868-3029             36
PAULINE E STUELAND CUST FBO          ELEANOR O STUELAND EST TRUST 1                                                          2041 OLD HIGHWAY 141                                                                              BRONSON            IA      51007-8071             91
DELAWARE CHARTER GUARANTEE & TRUST   VICTORIA L GOODMAN IRA                                                                  PO BOX 8965                                                                                       WILMINGTON         DE      19899-8965            273
CHARLES A. SAMARKOS                                                                                                          1110 S. FLORIDA AVENUE                                                                            TARPON SPRINGS     FL           34689             91
ADOLPH ALBERICI CUST                 IRENE ALBERICI FL                   UNIF GIFT MIN ACT                                   3947 MONTESINO DR                                                                                 ROCKLEDGE          FL      32955-5362             91
RETIREMENT ACCOUNTS INC CUST         F/B/O DAVID L MASSARO - IRA                                                             PO BOX 173785                                                                                     DENVER             CO      80217-3785            546
ROY A. VAGLE                                                                                                                 C/O ROYLE VAGLE                  10107 S 94TH EAST AVE                                            TULSA              OK      74133-6373            182
EUEL L SHOTTS JR                                                                                                             1802 THORNTON PL                                                                                  HOOVER             AL      35226-2731            179
BRADY L CAMPBELL &                   LOIS H CAMPBELL JT TEN                                                                  49 COUNTY ROAD 255                                                                                CULLMAN            AL      35057-4039            296
JERRY W WALLS &                      JUDITH G WALLS JTWROS                                                                   128 MAGNOLIA ST                                                                                   SATSUMA            FL           32189          1,186
TINA M GREN                                                                                                                  25371 REMESA DR.                                                                                  MISSION VIEJO      CA      92691-5460             59
PAT K PATTERSON                      GAYLE LEA PATTERSON JTWROS                                                              1033 VILLAS CREEK DR                                                                              EDMOND             OK      73003-3093            228
MARVIN S ROBERTS                                                                                                             10 SUNSET RD                                                                                      HARWICH PORT       MA      02646-1720             25
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               Name                          Name/1st Line Address                       2nd Line Address                       3rd Line Address                       4th Line Address                       5th Line Address              6th Line Address              City       State      Zip       Total Shares
VIRGINIA M ROBERTS                                                                                                                                      10 SUNSET RD                                                                                           HARWICH PORT          MA      02646-1720             25
EILEEN COHEN                                                                                                                                            1935 PASEO VERDE PKWY #328                                                                             HENDERSON             NV           89012            728
BARBARA CHEPPAIKODE                                                                                                                                     745 S MAIN ST APT 22                                                                                   CANYONVILLE           OR      97417-9709              6
EMILY B. BARNES                                                                                                                                         144 MARTINIQUE DR                                                                                      MADISON               MS      39110-4742            364
ELIZABETH MOODY STEELE                                                                                                                                  9700 OSBORNE TPKE                                                                                      HENRICO               VA      23231-8128            178
LOUIS E. SHARP                                                                                                                                          3121 HOLLY ST                                                                                          ERIE                  CO      80516-9408            999
SHARI RAE HAWLEY                                                                                                                                        5008 CROSS RIDGE CT                                                                                    WOODSTOCK             GA      30188-4380          1,483
RICHARD A CORNILS                                                                                                                                       1429 LE ROY AVE #A                                                                                     BERKELEY              CA           94708             91
SHARON DAVIS                                                                                                                                            1942 NORWICH LN                                                                                        BOLINGBROOK           IL      60490-5514            109
JOHN ANDERSON                     MARTHA S. ANDERSON, JTWROS                                                                                            131 SOUTHERN OAK DR                                                                                    DOTHAN                AL      36301-7665             91
CONSTANCE L BUNN &                NORA L BARNWELL JT TEN                                                                                                609 COLUMBUS AVE APT 2C                                                                                NEW YORK              NY      10024-1434             27
DAVID E BLUMFIELD                                                                                                                                       16001 ACRE ST                                                                                          NORTH HILLS           CA      91343-4821            546
ADELINE WANTA &                   BRYAN WANTA, JTWROS                                                                                                   173988 STATE HWY 153                                                                                   HATLEY                WI           54440            182
LOIS CROW WAGNER, TTEE            FBO LOIS CROW WAGNER TRUST                                                                                            % ROGER CROW                          1800 GRENADIER DR                                                SAN PEDRO             CA      90732-4226            182
DORIS NALLS                                                                                                                                             1144 ORTEGA RD NW                                                                                      LOS RANCHOS           NM      87114-1316            182
JUNE FITZSIMMONS                                                                                                                                        501 PORTOLA RD LODGE L 2                                                                               PORTOLA VALLEY        CA      94028-8622            182
DARLINE D. FLIAM                                                                                                                                        14214 W EXPOSITION DR                                                                                  LAKEWOOD              CO      80228-2340             91
LOUISE E. FORRESTER                                                                                                                                     517 N EDGEWORTH AVE                                                                                    ROYAL OAK             MI      48067-2370            137
AILEEN P. PARKER                                                                                                                                        1884 PERFECTION AVE                                                                                    BELMONT               NC      28012-2171            497
JUDITH A HOLTZ                                                                                                                                          W169N8430 SHERIDAN DR                                                                                  MENOMONEE FALLS       WI      53051-2819            375
W G SHELTON & S M SHELTON TTEES   FBO W G SHELTON & S M SHELTON TRUST DT                                                                                8901 N HIGHWAY 77                                                                                      NEWKIRK               OK      74647-7393            182
BARBARA LANDI-GULLONE                                                                                                                                   226 SKYLANDS RD                                                                                        RINGWOOD              NJ      07456-2905            109
JOHN D. SNIDER                                                                                                                                          DONNA L. SNIDER, JTWROS               4170 SCARFF RD                                                   NEW CARLISLE          OH      45344-8649            364
ANTONIA LEONA STRACHAN                                                                                                                                  TERRENCE ARCHIBALD STRACHAN, JTWROS   827 WESTLAKE DR                                                  ORMOND BEACH          FL      32174-1476            182
FRANK T MANFRE &                  REBA MANFRE JT TEN                                                                                                    1344 41ST STREET ENSLEY                                                                                BIRMINGHAM            AL      35208-1902             46
B.M. SUSSMAN &                    K ANDERSON CUST                          FBO JULIE E SUSSMAN                                                          4043 CANON AVE                                                                                         OAKLAND               CA      94602-2225             46
VICTORIA J SCHMUHL                                                                                                                                      5313 ANGELROCK LOOP                                                                                    ROSEVILLE             CA           95747            100
MARYORR BROWN                                                                                                                                           31481 LA MATANZA ST                                                                                    SAN JUAN CAPISTRANO   CA      92675-2625             46
LISA J STUART                                                                                                                                           5415 RUSSELL DR                                                                                        WAUSAU                WI      54401-8019            227
JIM STAUNTON                                                                                                                                            EILEEN STAUNTON, JTWROS               5708 N ODELL AVE                                                 CHICAGO               IL      60631-3046            364
CHARLES L CHAMBERS &              JUDITH D CHAMBERS JT TEN                                                                                              1440 ROAD 29                                                                                           ELK CITY              KS      67344-8914            741
DONALD M SPRINGER &               BONNIE SPRINGER JTWROS                                                                                                1710 EMERALD PKWY                                                                                      COLLEGE STATION       TX      77845-5543          1,186
DALE E LARSON CUST                FBO DONNA LARSON UNDER THE               WI UNIF GIFT MIN ACT                                                         1516 E ORCHARD BEACH LN                                                                                RICE LAKE             WI      54868-3029             96
BONNIE J PRESTON CUST             LAUREN J PRESTON                         UNIF TRANTO MIN ACT CA                                                       C/O LOWRIE YACHT HARBOR INC           40 POINT SAN PEDRO RD                                            SAN RAFAEL            CA      94901-4206             91
INOLA K BOLT                                                                                                                                            25 ORCHID HEIGHTS DR                                                                                   PISGAH FOREST         NC      28768-9653             52
JOHN L & J A JACOBS TTEES         FBO JACOBS FAMILY TRUST                                                                                               1275 WASHINGTON AVE                   UNIT 404                                                         GOLDEN                CO      80401-1235            228
ROGER A. BUCY                                                                                                                                           JEANNE L. BUCY, JTWROS                414 GREENFIELD DR                                                LEBANON               PA      17042-7936             91
MARJORIE D BLENDEN TTEE           LEONARD DIENER TRUST                     FBO RICHARD BLEN                                                             183 EXETER WAY                                                                                         HILLSIDE              NJ      07205-2901            400
DANIEL BOEHNEN                    MICHAEL BOEHNEN, JTWROS                                                                                               4469 PINE LAKE DR                                                                                      MEDINA                OH      44256-7642            127
GEORGE D. NAPIER, SR.                                                                                                                                   602 MOORE MILLER RD                                                                                    NEW PARIS             OH      45347-9116             91
CYNTHIA M. HOFFLAND                                                                                                                                     2838 REGENT ST                                                                                         MADISON               WI      53705-5218            364
LEON K. HORST                     DONNA A. HORST, JTWROS                                                                                                % DON D BURCHETT                      412 LINDEN CT                                                    INDEPENDENCE          KS      67301-2022             46
NORMA J. HOUGH                                                                                                                                          5300 POINSETTA AVE                                                                                     WINTER PARK           FL      32792-7234             55
WENDY ANNE JACOBS                                                                                                                                       251 LUNT RD                                                                                            BRUNSWICK             ME      04011-7293          1,456
LARSON & WEINBERG TBPP            FBO DORON WEINBERG                                                                                                    523 OCTAVIA ST                                                                                         SAN FRANCISCO         CA      94102-4313             73
RAMON M SOTOLONGO                                                                                                                                       3886 27TH PKWY                                                                                         SARASOTA              FL      34235-8028             46
RALPH D LONG &                    KATHERINE D LONG JT TEN                                                                                               80 CYPRESS FORREST DR                                                                                  FLORENCE              AL      35633-0910             46
JACK P & BEATRICE THOMAS TTEES    FBO JACK P & BEATRICE THOMAS LIV TR                                                                                   4760 ROSE PL                                                                                           SAN DIEGO             CA      92115-3920             55
THELMA C WALLACE                                                                                                                                        702 E 18TH AVE                                                                                         WINFIELD              KS      67156-5036             60
BALANCE ACCOUNT FOR JETFLEET      HOLDING CORP. MERGER                                                                                                  1 STATE ST FL 30                                                                                       NEW YORK              NY      10004-1571         18,218
MARJORIE H LEIGH &                GLENN K MARSH JT TEN                                                                                                  65 HAWTHORNE STRRET                                                                                    BIRMINGHAM            AL           35242            444
MICHAEL G ROSERI                                                                                                                                        800 PINE FOREST LN                                                                                     PROSPECT HEIGHTS      IL      60070-2580          1,694
GOHDES FAMILY LAND TRUST                                                                                                                                C/O DALE A GOHDES                     245100 COUNTY ROAD J                                             WAUSAU                WI           54403          3,182
ROBERT L. DUNSHEE                                                                                                                                       6530 MAKELY WAY                                                                                        CARMICHAEL            CA           95068            301
MERIDIAN TRUST COMPANY LIMTED     TR STAR GATE TRUST                                                                                                    SUITE 556, HUNKINS WATERFRONT         PLAZA                              MAIN ST CHARLESTOWN           NEVIS                                           152,433
ESME SMITH                                                                                                                                              110 FOX RD                                                                                             TRUMBULL              CT      06611-1236          3,640
PARAGON TECHNOLOGIES INC                                                                                                                                205 GLENWOOD DR                                                                                        ATHENS                GA      30606-4617              1
FLORENCE E BRANDT                                                                                                                                       4337 COUNTY ROAD 13                                                                                    BRYAN                 OH      43506-9742             18
KEITH D. BREWER                                                                                                                                         1347 CINDY DR                                                                                          OAKDALE               CA      95361-3282             23
BARBARA A CONWAY TTEE             FBO BARBARA A CONWAY TRUST                                                                                            C/O KATHRYN CONWAY                    10405 CONWAY ESTATES WAY                                         LITHIA                FL      33547-4807            917
GEORGE W. & KAY CARTER, TTEES     FBO BILL CARTER STRAW & HAY, INC., PSP                                                                                1630 ARCHER DR                                                                                         WOODLAND              CA      95695-5512            182
JAMES H CRUPPER TTEE              FBO JAMES H CRUPPER TRUST                                                                                             2400 PINE AVE                                                                                          OKLAHOMA CITY         OK      73128-3037             46
VSR FINANCIAL SERVICES INC        ATTN: CHARLES K SPENCER                                                                                               8620 W 110TH ST STE 200                                                                                OVERLAND PARK         KS      66210-1809             46
ALMA WARD, TTEE                   FBO ALMA WARD TRUST                                                                                                   PO BOX 2075                                                                                            BATESVILLE            AR      72503-2075          1,274
BARBARA A DICKEY                                                                                                                                        1516 CORAL LN                                                                                          GULF BREEZE           FL      32563-2628            168
LESTER P DORAN &                  RUTH E DORAN TTEES                       FBO THE L P & R E DORAN TRUST                                                8001 EDDIE RD                                                                                          WINNEBAGO             IL      61088-8820            910
ARNOLD S. EID                     AGNES S. EID, JTWROS                                                                                                  620 MAIN AVE APT 708                                                                                   FARGO                 ND      58103-1953            137
HERDIS W. WHITE                   W. KAY WHITE, JTWROS                                                                                                  338 REGAL OAKS CIR                                                                                     WHITE HALL            AR      71602-3052             64
PATRICIA NOERBAEK                                                                                                                                       1015 LA MESA AVE                                                                                       SPRING VALLEY         CA      91977-4619             61
DAVID M. GILES                                                                                                                                          537 MOUNT VERNON AVE                                                                                   MARION                OH      43302-5109             23
HELEN S. PREISENDORF                                                                                                                                    7815 SKY PARK RD                                                                                       GRAND ISLAND          NE      68801-9120             46
THOMAS J GULLETT                                                                                                                                        PO BOX 1998                                                                                            LEXINGTON             KY      40588-1998             32
LAURICE SMITH TTEE                FBO THE YVONNE SMITH TRUST                                                                                            3270 HOLIDAY VIEW DR                                                                                   TRAVERSE CITY         MI      49686-3946          1,456
JOAN A. LEWIS                                                                                                                                           1701 KENT RD                                                                                           CAMP HILL             PA      17011-6017            182
MICHAEL M TISCHENDORF                                                                                                                                   R977 SPRUCE LN                                                                                         ATHENS                WI      54411-9351            202
SINA W. TOLOSI                                                                                                                                          2154 BARNEGAT BLVD                                                                                     POINT PLEASANT BORO   NJ      08742-4935             36
JAMES H TROTT TTEE                JAMES H TROTT REVOCABLE TRUST                                                                                         49 KATHY DR                                                                                            ORMOND BEACH          FL      32176-3127            364
JERRY C. SUMRAL                                                                                                                                         6943 PERRY ROAD APT J                                                                                  BELL                  CA           90201             23
G ANNETTE GRAHAM                                                                                                                                        423 N WEST STREET                                                                                      ALEXANDRIA            VA           22314             30
NATIONAL FINANCIAL SERVICES FBO   MARJORIE ANTHOLZ IRA                                                                                                  PO BOX 3731                                                                                            NEW YORK              NY      10008-3731          1,909
PEGGY P RAMSEY TTEE               THE PEGGY RAMSEY 1990 REV TR                                                                                          29 SEABREEZE WAY                                                                                       INLET BEACH           FL           32461            182
VIRGINIA NELL CANTRELL                                                                                                                                  110 A MASON ST                                                                                         COLUMBUS              MS      39702-3006             89
JANET STEWART                                                                                                                                           PO BOX 521                                                                                             MATTITUCK             NY      11952-0521          1,365
NEARY PENCO                       STATE OF NEW JERSEY                      DEPARTMENT OF THE TREASURY              UNCLAIMED PROPERTY                   PO BOX 214                                                                                             TRENTON               NJ      08695-0214             23
CECIL DAVENPORT                   WILLIAM DAVENPORT, JTWROS                                                                                             21597 HIGHWAY 40                                                                                       BUSH                  LA      70431-2613            228
WILLIAM J BOS SR                                                                                                                                        1674 SPAULDING AVE SE                                                                                  GRAND RAPIDS          MI      49546-6340            428
ANTOINETTE MILLER &               FRANCIS MILLER TTEES                     U/A DTD 2/24/86                         FBO A & F MILLER TRUST               1239 CALAMONDIN DR                                                                                     HOLIDAY               FL      34691-6702            364
JANICE K. DRESHAR                                                                                                                                       28085 SOUTHBRIDGE CIR                                                                                  WESTLAKE              OH      44145-5325            692
ANN DUNGAN ECKLES                                                                                                                                       4906 PAGOSA FALLS CT                                                                                   KATY                  TX      77494-2257             91
LORETTA OSBORN &                  PHILLIP S OSBORN JT TEN                                                                                               1117 N HICKORY AVE                                                                                     SAND SPRINGS          OK      74063-8112             23
LUCILLE WIERNASZ                                                                                                                                        4802 RIDGE RD                                                                                          RHINELANDER           WI      54501-8983            133
BONNIE J PRESTON TTEE             UA DTD 12/05/03 ROGER L PRESTON &        BONNIE J PRESTON REV INTERVIVOS TRUST   BONNIE J PRESTON SEPERATE PROPERTY   40 POINT SAN PEDRO RD                                                                                  SAN RAFAEL            CA      94901-4206            456
ARVID E HANNA &                   HELEN F HANNA TTEES                      FBO ARVID E & HELEN F HANNA TRUST                                            246 KIM LOOP                                                                                           DEMOREST              GA      30535-4829            182
JAMES L HELLRUNG &                LINDA J HELLRUNG TTEES                   U/A DTD 10/08/92 FBO HELLRUNG TRUST                                          26 WILTSHIRE CT                                                                                        EDWARDSVILLE          IL      62025-3877            182




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               Name                            Name/1st Line Address                    2nd Line Address   3rd Line Address                            4th Line Address                 5th Line Address   6th Line Address              City       State      Zip       Total Shares
JOHN R HIX                                                                                                                              3420 LEONARD RD                                                                       GRANTS PASS           OR      97527-6150            182
DEBBIE HORSA                        T. NICOLE GREY, JTWROS                                                                              630 E ORANGE ST                                                                       TARPON SPNGS          FL      34689-4222             46
ROSE M SCHEIDEL                                                                                                                         7137 CHILDSDALE AVE NE                                                                ROCKFORD              MI      49341-8586            217
JOHN MICHAEL SELLERS                                                                                                                    2626 EWING AVE                                                                        EVANSTON              IL      60201-1328            546
LINDA L. KARUSSI                                                                                                                        2074 W 100TH ST                                                                       CLEVELAND             OH      44102-3606            546
A YVONNE NICEK TTEE                 A YVONNE NICEK REV TRUST                                                                            6513 NW 109 STREET                                                                    OKLAHOMA CITY         OK           73162            638
CHARLES L CHAMBERS                                                                                                                      1440 ROAD 29                                                                          ELK CITY              KS      67344-8914            445
TIFFANIE A REICH TR                 WILLIAM E & VIRGINIA R BROOKHOUSER    REVOCABLE LIVING TRUST U/A DTD                      8/29/2008 7782 SUTTER RD                                                                        GREENSBORO            NC      27455-8407             46
BRUCE WANTA                                                                                                                             209545 MARTA LANE                                                                     MOSINEE               WI           54455            182
NEAL D CRISPIN &                    TONI M PERAZZO JT TEN                                                                               146 ARBOR LANE                                                                        SAN MATEO             CA           94403             99
ASHTON FARMS                                                                                                                            217 CHURCH ST                                                                         LAKE VILLAGE          AR      71653-1905          1,186
JOAN C CORNEY                                                                                                                           160 LAUREL RIDGE DR                                                                   JONESBOROUGH          TN      37659-7417            741
NATIONAL FINANCIAL SERVICES CORP    GERALD J HERMAN IRA                                                                                 PO BOX 3768                                                                           NEW YORK              NY      10008-3768             73
BONNIE J PRESTON CUST               LEE H PRESTON                         UNIF TRAN TO MIN ACT CA                                       C/O LOWRIE YACHT HARBOR INC       40 POINT SAN PEDRO RD                               SAN RAFAEL            CA      94901-4206             91
AVIS JEAN SUMSTAD                                                                                                                       7816 RAMBLEWOOD AVE                                                                   LAS VEGAS             NV           89128            160
CURTIS A. BLUST                     MILDRED N. BLUST, JTWROS                                                                            4807 MARBLE SPRINGS CIRCLE                                                            WINAUMA               FL           33598             91
JANICE S WASHBURN                                                                                                                       5144 HIGHWAY 102                                                                      TOWNLEY               AL      35587-3800             89
MARY C. ARBAUGH                     CHARLES J. ARBAUGH, JTWROS                                                                          816 HILE LN                                                                           ENGLEWOOD             OH      45322-1736            182
N COMSTOCK                                                                                                                              146 W FIESTA KEY LOOP                                                                 DELAND                FL      32720-3973          1,058
MATTHEW CARACCIOLO                                                                                                                      210 E MADISON ST                                                                      EAST ISLIP            NY      11730-1313            319
F JEAN CARMICHAEL TTEE UA 3/18/97   FBO CARMICHAEL FAMILY TRUST UA                                                                      27831 WASHINGTON ST                                                                   BONITA SPRINGS        FL      34135-4858            546
CHARLES R CARPENTER &               BETTY D CARPENTER JT TEN                                                                            1254 MAHER RD                                                                         WALTON                KY      41094-8770            169
HOWARD E. CARR                      CAROLYN T. CARR, JTWROS                                                                             342 PAYNE ST                                                                          AUBURN                AL      36830-7432             46
ROSITA P EBRON                                                                                                                          6655 W PATRICK LN                                                                     LAS VEGAS             NV      89118-2513            455
MURIEL E. EDQUIST                   MARY C. EDQUIST, JTWROS                                                                             N3059 COUNTY ROAD D                                                                   BAY CITY              WI      54723-8031             91
KEN WOO                             JEWEL WOO, JTWROS                                                                                   5029 RYAN DR                                                                          OKLAHOMA CITY         OK      73135-4203            114
CLARE A. FISER                                                                                                                          312 MELODY LN                                                                         DEFIANCE              OH      43512-3032            182
JOHN H FRENZL                                                                                                                           36921 COUNTY ROAD FF                                                                  AKRON                 CO      80720-9243            138
DOROTHY HOOD GARNER                                                                                                                     8716 RIVER RD                                                                         NEW BRAUNFELS         TX      78132-3106             46
LAURA A. GILES                                                                                                                          3015 STILLMEADOW DR                                                                   DUBLIN                OH      43017-1752             23
MERLE S GRAHAM                                                                                                                          1812 FRIEDENSVILLE RD                                                                 BETHLEHEM             PA      18015-5024             31
ROBERT S. REZNICEK                                                                                                                      7032 60TH AVE N                                                                       CRYSTAL               MN      55428-3428            182
JAMES S EVANS INC                                                                                                                       3723 N KEDVALE AVE                                                                    CHICAGO               IL      60641-3128             23
WALTER E. SCHROEDER                                                                                                                     C/O RICHARD SCHROEDER             5709 CLOVER LN                                      GREENDALE             WI      53129-2415             46
DORRANCE T. KELLY                                                                                                                       114 TOPSTONE RD                                                                       REDDING               CT      06896-1817             23
DAVID E SIMS                                                                                                                            487 GARVIN LN                                                                         BOWLING GREEN         KY      42101-7607             91
SHIRLEY K KREIMEYER TTEE            FBO SHIRLEY K KREIMEYER TRUST                                                                       3400 INVERNESS DR                                                                     CHEVY CHASE           MD      20815-5623             23
IRWIN J DELAP                                                                                                                           150651 ARROWOOD LN                                                                    WAUSAU                WI      54401-5007            233
MONTE D OWEN CUST                   EST OF CLYDE & BELL ARNOLD                                                                          6365 SAGEWOOD CIR                                                                     PINSON                AL      35126-2395          2,243
JOZEF T KASLIKOWSKI                                                                                                                     493 ROBERTS RD                                                                        MOSS                  TN      38575-6027            182
RETIREMENTS ACCOUNTS INC CUST FBO   EDWARD J MERENDA                                                                                    2414 HOFFNER AVE                                                                      BELLE ISLE            FL      32809-3538            593
MALCOLM I HEYWORTH &                LINDA K HEYWORTH JT TEN                                                                             PO BOX 38314                                                                          CHARLOTTE             NC      28278-1005          2,375
JOHN H WALTERS &                    BONITA A WALTERS JT TEN                                                                             16 SAW TIMBER DR                                                                      HILTON HEAD ISLAND    SC      29926-1048             73
GEORGE K. UEMA                      JAMI L. UEMA, JTWROS                                                                                1781 E DOGWOOD PL                                                                     CHANDLER              AZ      85286-2248             68
EDWARD M TOLOSI &                   SINA W TOLOSI JR JT TEN                                                                             2154 BARNEGAT BLVD                                                                    POINT PLEASANT BORO   NJ      08742-4935             27
JOHN H. GLATT                       ROSEMARY S. GLATT, COMM PROP                                                                        931 EDENBURY LN                                                                       SAN JOSE              CA      95136-1410            364
SHARON E MATTIA EXEC OF EST         OF FAY E YOUNG                                                                                      244 TAUBER DR                                                                         CENTERVILLE           OH      45458-2214            109
BONNIE J LITTRELL                                                                                                                       4035 BAY OAKS CIR                                                                     ENGLEWOOD             FL      34223-9143            182
PHYLLIS E DIEDRICH                                                                                                                      940 BLUE STONE LN APT 1                                                               MARATHON              WI      54448-6803            593
MEDORA JANE SANFORD                                                                                                                     4098 N 4080 W                                                                         MACKAY                ID      83251-4512            118
CYNTHIA B CHRISTIAN                                                                                                                     130 TROTTER RD UNIT 107                                                               SOUTH WEYMOUTH        MA      02190-4105          1,186
NANCY M DEAMER                                                                                                                          12 TERRY LN                                                                           LEBANON               PA      17042-3821            182
RUTH B. BRIER                                                                                                                           8190 BLUE RIDGE PL                                                                    SEMMES                AL      36575-5445            456
GERALD DECKER                                                                                                                           4400 S 80TH ST APT 209                                                                LINCOLN               NE      68516-4456              9
RICHARD A. DECKER                                                                                                                       C/O CHARLENE DECKER               15362 W VERDE LN                                    GOODYEAR              AZ      85395-8629              9
BRUCE CHARLES BELL                                                                                                                      13667 FOREST HILL RD                                                                  GRAND LEDGE           MI      48837-9253            445
MARY E CRUPPER TTEE UA 06/26/91     FBO MARY E CRUPPER TRUST                                                                            2400 PINE AVE                                                                         OKLAHOMA CITY         OK      73128-3037             46
MARJORIE D BLENDEN TTEE             LEONARD DIENER TRUST                  FBO LARRY BLENDE                                              183 EXETER WAY                                                                        HILLSIDE              NJ      07205-2901            400
MILDRED L. MIDDLETON                                                                                                                    3409 PARLIAMENT CT                                                                    MOBILE                AL      36695-6221             91
IRENE O WELLMAN &                   ALLISON L WELLMAN JT TEN                                                                            141 E SOUTH ST                                                                        JACKSON               OH      45640-1628            132
GARY W. WINKLER                                                                                                                         1173 CATHEDRAL CIR                                                                    MADISON               AL      35758-8908            728
LILLY GIRAUD FISHER                                                                                                                     1128 GRAND ST                                                                         KEY LARGO             FL      33037-4122            182
MITZI K. INOUYE                                                                                                                         1770 S OURAY CT                                                                       AURORA                CO      80017-5139            146
DOROTHY L. SCULL                                                                                                                        9 SAINT LAWRENCE AVE                                                                  MAPLEWOOD             NJ      07040-1117             91
LOUIS R. KNAUF                                                                                                                          C/O ROBERT L KNAUF                104 8TH ST # 391                                    MARATHON              WI      54448-9124            966
PAUL R. LANGOSCH                    MICHELLE E. DUNN-LANGOSCH                                                                           3402 COQUELIN TER                                                                     CHEVY CHASE           MD      20815-4802            182
JANE LUTHER                                                                                                                             5080 SW TECHNOLOGY LOOP APT 141                                                       CORVALLIS             OR      97333-1581            175
DOROTHY M. TERRY                                                                                                                        415 DEXTER RD                                                                         TYLERTOWN             MS      39667-4918            364
RUSSELL J DEAN TR                   DOROTHY A DEAN TRUST                  U/A DTD 06/06/90                                              PO BOX 2347                                                                           PASCO                 WA      99302-2347            592
ARLENE MARIANI                                                                                                                          110 MADISON ST                                                                        WOOD RIDGE            NJ      07075-2322            182
JOYCE HEIN                                                                                                                              616 RUDER ST                                                                          WAUSAU                WI      54403-6621          1,483
DAVID L TOBUREN                                                                                                                         205 S ALEXANDER AVE                                                                   WASHINGTON            GA      30673-1771          1,186
FRANK L. PADUANO                    MARY JANE PADUANO JTWROS                                                                            1373 SAINT CLAIR AVE                                                                  SAINT PAUL            MN      55105-2336             27
GEORGE CHRESAND CUST                ANNE G CHRESAND                       UNIF TRANS MIN ACT MN                                         16008 LAKESHORE DR                                                                    EDEN PRAIRIE          MN      55347-2314             10
DOROTHY BOS                                                                                                                             1674 SPAULDING AVE SE                                                                 GRAND RAPIDS          MI      49546-6340            377
WILLIAM J BOS TTEE UA 06/21/94      FBO WILLIAM J BOS TRUST                                                                             1674 SPAULDING AVE SE                                                                 GRAND RAPIDS          MI      49546-6340            100
D G BRUNDIGE &                      SHARRON L BRUNDIGE TTEES              FBO BRUNDIGE FAMILY TRUST                                     122 MIRABEAU AVE                                                                      SAN PEDRO             CA      90732-3117             91
RAMESH S MODI                       TARA R MODI JTWROS                                                                                  411 BIRCH HILL DR                                                                     SUGAR LAND            TX      77479-5013            364
PAULINE F. VIERLING                                                                                                                     2820 BELLA VISTA DR                                                                   MIDWEST CITY          OK      73110-3134          1,092
WILLIAM E. WATKINS                                                                                                                      3147 N BROADWAY AVE                                                                   WICHITA               KS      67219-4016            910
ALBERT B. DEWEESE                                                                                                                       505 POPLAR AVE                                                                        PHILADELPHIA          MS      39350-2504            364
FIRST TRUST CORP TTEE               FBO JOHN PAPAGNI CONSULTING PSP                                                                     1821 JARVIS RD                                                                        SANTA CRUZ            CA      95065-9795             46
ARIS T PAPAS TTEE                   FBO ARIS T PAPAS TRUST                                                                              14 BELMONT ST                                                                         NEW BEDFORD           MA      02744-1905            546
ROSEMARY C. PIERCE                                                                                                                      3769 US68N                                                                            YELLOW SPRINGS        OH           45387            182
WILLIAM B. HILLIS                   YVONNE MARIE HILLIS, JTWROS                                                                         3646 CENTURION DR                                                                     CINCINNATI            OH      45211-1806             46
ALICE D HODACH SUCC TTEE            FBO THE HARRIET WILSON ESTATE TRUST                                                                 3284 PEBBLE BEACH DR                                                                  LAKE WORTH            FL      33467-1216             87
DORIS A. SCHEEL                                                                                                                         1620 JELINEK AVE                                                                      SCHOFIELD             WI      54476-3527            546
SUSAN L. KERN                                                                                                                           166 STEWART DR                                                                        TIBURON               CA      94920-1338            910
GALEN FRANK MARSH                                                                                                                       PO BOX 158                                                                            EL CENTRO             CA      92244-0158            114
STANLEY SUGARMAN                                                                                                                        PATRICIA J. SUGARMAN, JTWROS      51 FOREST DR                                        SUCCASUNNA            NJ      07876-1902            364
WILLIAM D. MCCANN                                                                                                                       KRISTI M. MCCANN, JTWROS          2930 CENTRAL AVE                                    MEMPHIS               TN      38111-2406             46
OLGA D TOKAR TTEE                   U/A DTD 8/6/92                        OLGA D TOKAR TRUST                                            C/O SHIRLEY STEDMAN               1396 MEADOWBANK DR                                  WORTHINGTON           OH      43085-1721            366
ANDRZEJ W KASLIKOWSKI                                                                                                                   493 ROBERTS RD                                                                        MOSS                  TN      38575-6027            182
JULIA A LUMPKIN                                                                                                                         5421 SIESTA COVE DR                                                                   SARASOTA              FL      34242-1712             36




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                Name                                Name/1st Line Address                       2nd Line Address                     3rd Line Address                  4th Line Address                  5th Line Address    6th Line Address            City     State      Zip       Total Shares
GUYLA WEHMAN                                                                                                                                            542 WHITE TAIL RIDGE DR                                                                 FAIRLAWN          OH      44333-3288            137
DOROTHY VIRGINIA MURR                                                                                                                                   PO BOX 425                                                                              JUNCTION          TX      76849-0425          1,186
ELIZABETH BORGOGNONI &                   TONY T BORGOGNONI JT TEN                                                                                       227 BORGOGNONI DR                                                                       LAKE VILLAGE      AR      71653-1547          1,186
JOSEPH H LISENBY &                       ELIZABETH T LISENBY JT TEN                                                                                     % THOMAS D LISENBY                  217 W SPOKANE FALLS BLVD. #502                      SPOKANE           WA           99201            222
DEAN WITTER REYNOLDS, INC., CUST.        FBO ANGELA K. HENSON, IRA                                                                                      1846 HAZLETT ST                                                                         EL DORADO         KS           67042             90
KENNETH W. WALLS                                                                                                                                        ALISON M. WALLS, JTWROS             1630 ONONDAGA DR                                    GENEVA            FL      32732-9535            364
VIKKI FRAIOLI CUST                                                                                                                                      FBO JAMIE & THOMAS P FRAIOLI UGMA   1416 SHOSHONE PL                                    MODESTO           CA      95358-1353             73
KENNETH A ELLIOTT & MARY LOU ELLIOT      FBO ELLIOTT FAMILY LIVING TRUST                                                                                11750 TULIP ST NW APT 230                                                               COON RAPIDS       MN      55433-7722            728
BARBARA A DICKEY                                                                                                                                        1516 CORAL LN                                                                           GULF BREEZE       FL      32563-2628            118
BARBARA BRUMBLELOE                                                                                                                                      2117 SCOTT ST                                                                           GUNTERSVILLE      AL      35976-1117            178
VIIAN M COSTANZO                                                                                                                                        15120 PINE VALLEY TRL # B29                                                             CLEVELAND         OH      44130-5527            182
FLORENCE E BRANDT TTEE                   FBO FLORENCE E BRANDT TRUST A                                                                                  4377 COUNTY ROAD 13                                                                     BRYAN             OH      43506-9742             36
RICHARD BEHNKE TTEE                      UA 12 20 83                              CHRIS BEHNKE TRUST                                                    46-105 NAHIKU ST                                                                        KANEOHE           HI      96744-3627             38
JEAN M. CUSANO                                                                                                                                          26285 TIMBERCREEK LN                                                                    MILLSBORO         DE      19966-8101             27
CAROLE L GRANDSTAFF                                                                                                                                     12210 ANGLING RD                                                                        EDINBORO          PA      16412-1310            141
THE HOWARD VOIEN                                                                                                                                        5421 E EL JARDIN ST                 FAMILY TRUST UDT DTD 6/11/92                        LONG BEACH        CA      90815-4115             23
REBECCA L. DUCAT                                                                                                                                        7003 PAULA DR                                                                           MIDDLEBRG HTS     OH      44130-3562            364
CHARLES W. GRAY, DVM                                                                                                                                    317 S.E. 33RD STREET                                                                    EDMOND,           OK           73013             76
WILLIAM B. & DARLEEN M. MULLIKIN, TTEE   FBO WILLIAM B. & DARLEEN M. MULLIKIN T                                                                         212 EAGLE CT                                                                            MODESTO           CA      95350-3209            910
SAMUEL L. WESTBROOK                                                                                                                                     PO BOX 502                                                                              NASHVILLE         AR      71852-0502            917
JEFF L. WHITTEN                                                                                                                                         1810 HUISACHE DR                                                                        RICHMOND          TX      77469-4824             36
LEWIS C FRENZL                                                                                                                                          36921 COUNTY ROAD FF                                                                    AKRON             CO      80720-9243            138
JENNEE CARPENTIER GARRETT                                                                                                                               104 TRIGG CT                                                                            GLASGOW           KY      42141-2252            365
BILLY J. GIRTMAN                         IRMA DEAN GIRTMAN, JTWROS                                                                                      476 RIDGE RD                                                                            PIGGOTT           AR      72454-1318            182
ALICE L. GROSS, TTEE                     FBO ALICE L. GROSS TRUST                                                                                       1236 LINCOLN AVE                                                                        DETROIT LAKES     MN      56501-4015            137
PHYLLIS K. RICHTER, TTEE UA 3/4/97       FBO PHYLLIS K. RICHTER TRUST                                                                                   4690 OAK GROVE CIR                                                                      CUMMING           GA      30028-3258            364
MARTHA ROGET TTEE                        FBO VANCE ROGET MD PSP                                                                                         3817 VANDER WALL LN                                                                     MODESTO           CA      95356-0361            374
HENRY J. HOEKSTRA                        SUZANNE C. HOEKSTRA, JTWROS                                                                                    5409 CHAUNCEY DR NE                                                                     BELMONT           MI      49306-9192            546
HARVEY S. SAKS                                                                                                                                          5150 THREE VILLAGE DR                                                                   LYNDHURST         OH      44124-3772            182
RICHARD KALKOFEN                                                                                                                                        931 SMITH AVE                                                                           ANTIGO            WI      54409-1660            186
JOHN F. SHEETZ                                                                                                                                          2076 IWV RD SW                                                                          OXFORD            IA      52322-9795            146
THETA CHI UPSILON, INC.                                                                                                                                 4535 17TH AVE NE                                                                        SEATTLE           WA      98105-4203             23
CHRISTOPHER B TIGNO                                                                                                                                     1625 BALBOA AVE                                                                         BURLINGAME        CA      94010-4615            250
RICHARD B MCFARLAND &                    ANN L AINSWORTH TTEES                    UA 12/09/80 THE MCFARLAND FAM TRUST                                   5 GAELSONG LANE                                                                         WYOMISSING        PA      19610-3119             91
BRYAN WANTA &                            ADELINE WANTA, JTWROS                                                                                          173988 STATE HWY 153                                                                    HATLEY            WI           54440             91
DONALD A. HOWELL                         NANCY J. HOWELL, JTWROS                                                                                        19340 FOWLES RD                                                                         MIDDLEBRG HTS     OH      44130-6253            146
JEAN M MALDONADO                                                                                                                                        956 N RICHEY BLVD                                                                       TUCSON            AZ      85716-4322            215
SUMMER LYN FLOWERS YOUNG                                                                                                                                1001 NW 52ND TER                                                                        GAINESVILLE       FL      32605-4435            910
TIMOTHY D. BERGREN, CUST.                                                                                                                               FBO ANDREW D. BERGREN, UGTMA        4304 RIVER HAWK DR                                  LOVES PARK        IL      61111-8673            109
STEPHEN KOENIG                           BARBARA KOENIG, JTWROS                                                                                         62 HARWOOD RD                                                                           MONROE TOWNSHIP   NJ            8831            910
LINDA COLONO                             CHARLES COLONO, JTWROS                                                                                         4 MARCY PLACE                                                                           WEST ORANGE       NJ            7052            182
CYNTHIA RIGGS                                                                                                                                           26725 NE BELL RD                                                                        NEWBERG           OR           97132            113
ANDRE BERENFELD                                                                                                                                         3385 GREEN MEADOW DR                                                                    DANVILLE          CA      94506-1232            474
JOYCE A RICHMOND                         CHARLES RAY MEALER JTWROS                                                                                      646 CARRINGTON BLVD                                                                     LENOIR CITY       TN      37771-6451            910
MICHAEL G. HARRYMAN                      MARILYN A. HARRYMAN, COMM PROP                                                                                 947 ARLINGTON BLVD                                                                      EL CERRITO        CA      94530-2703             36
ARTHUR W. MOON                           MADELINE C MOON JTWROS                                                                                         1121 LANCER LN                                                                          TARPON SPRINGS    FL      34689-8034            182
MYRNA RILEY                                                                                                                                             408 S MCKENDRIE AVE APT 109                                                             MOUNT MORRIS      IL      61054-1475            182
ELIZABETH KAYE DAVIS                                                                                                                                    630 CROSSCREEK DR                                                                       PRESCOTT          AZ      86303-4964            364
GERTRUDE M BAUMANN &                     JACQUELINE BAUMANN JT TEN                                                                                      8215 E ORANGE BLOSSOM LN                                                                SCOTTSDALE        AZ      85250-7315            159
LYNN W. DYER                                                                                                                                            PO BOX 926                                                                              NASHVILLE         AR      71852-0926            364
JOHN MYERS                                                                                                                                              19 SUNSET RD                                                                            WELLINGTON        KS      67152-4708            500
JOHN L WEST                                                                                                                                             8805 DEER TRAIL CT                                                                      BRADLEY           CA      93426-9610             23
CHARLES W GRAY &                         KAREN S GRAY JT TEN                                                                                            317 SE 33RD                                                                             EDMOND            OK           73013            182
DANA L. REED, JR.                                                                                                                                       WILMA JUNE REED, JTWROS             PO BOX 323                                          GREENTOWN         PA      18426-0323            364
DANNY R HARTNESS                         SHIRLEY A HARTNESS JTWROS                                                                                      10614 W 35TH CT S                                                                       WICHITA           KS      67215-8650             23
JOEL M. HAVERLAND                                                                                                                                       122 TENNYSON ST                                                                         POTOSI            WI      53820-9617             36
ERIC RICKMAN TTEE                        FBO ERIC RICKMAN LIVING TRUST                                                                                  C/O MICHAEL RICKMAN                 4100 CAMINO REAL                                    LOS ANGELES       CA      90065-3959            382
MICHAEL ROBINSON                                                                                                                                        3347 STATE ROUTE 668 S                                                                  JUNCTION CITY     OH      43748-9605            182
REBA SANDERS                                                                                                                                            12024 COUNTY ROAD 701                                                                   BUNA              TX      77612-1358             18
PENELOPE SCHEFFER                                                                                                                                       901 BATES ST SE                                                                         TUMWATER          WA      98501-4117              6
JOHN E SCHEIDEL                                                                                                                                         7137 CHILDSDALE AVE NE                                                                  ROCKFORD          MI      49341-8586            218
EMERY R SIEWERT &                        DELORES M SIEWERT TTEES                  FBO E R & D M SIEWERT REV LIV TRUST                                   ROUTE #1 BOX 112A                                                                       DALTON            WI           53926             46
LARSON & WEINBERG TBPP                   FBO NINA WILDER                                                                                                523 OCTAVIA ST                                                                          SAN FRANCISCO     CA      94102-4313             27
ARTHUR RICHARD TITUS                                                                                                                                    325 NOE ST                                                                              SAN FRANCISCO     CA      94114-1618             36
RANDALL S HASKO                                                                                                                                         921 S 6TH AVE                                                                           WAUSAU            WI      54401-6062            226
CAROL V REED EXEC EST OF                 JEANNE M PORTER                                                                                                3433 GOLDEN GATE WAY STE C                                                              LAFAYETTE         CA      94549-4582             46
BARBARA L. ANDERSON                                                                                                                                     43980 MAHLON VAIL RD. #2202                                                             TEMECULA          CA           92592             73
JAMES O JOHNSON &                        DARLENE R JOHNSON CO TRUSTEES            FBO JOHNSON REVOCABLE TRUST           U/A DTD 04/16/90                N 1920 CAINE CREEK ROAD                                                                 MERRILL           WI           54452          1,483
AERO CENTURY CORP                        TREASURY ACCOUNT                                                                                               1440 CHAPIN AVE STE 310                                                                 BURLINGAME        CA      94010-4011        213,332
BILLY F COOPER &                         JOANNE COOPER JT TEN                                                                                           804 N VERONA AVE                                                                        AVON PARK         FL      33825-2449            949
ERBY BOLT & INOLA K BOLT                 LIVING TRUST                                                                                                   25 ORCHID HEIGHTS DR                                                                    PISGAH FOREST     NC      28768-9653          1,186
TONI M PERAZZO                                                                                                                                          1440 CHAPIN AVE #310                                                                    BURLINGAME        CA           94010             58
JOYCE C KAVANAUGH                                                                                                                                       340 BOSTON POST RD                                                                      EAST LYME         CT      06333-1505            182
A & P JACOBS REV TRUST                                                                                                                                  24581 SUMMERHILL CT                                                                     LOS ALTOS         CA      94024-4715            135
BERNARD E CARR SR &                      HARRIET E CARR TTEES                     CARR TRUST DTD 2/2/93                                                 7801 PORT ORFORD DR                                                                     ANCHORAGE         AK      99507-6021            182
MARJORIE D. BLENDEN                                                                                                                                     183 EXETER WAY                                                                          HILLSIDE          NJ      07205-2901            910
PAMELIA S. MIXON                         VANGIE E. MIXON, JTWROS                                                                                        6699 STATE HIGHWAY 19                                                                   DETROIT           AL      35552-3135            681
MARY ANN MURRAY                                                                                                                                         9522 BELLECHASE RD                                                                      GRANBURY          TX      76049-4433            159
GREGORY G. GLEASON                                                                                                                                      136 WALLUM LAKE RD                                                                      DOUGLAS           MA      01516-2516            255
DONALD HARDYMAN                          SANDRA HARDYMAN, JTWROS                                                                                        11831 S GATE RD                                                                         ROSCOE            IL      61073-9673            400
GLENN ROBERTS                                                                                                                                           3932 17TH ST                                                                            SAN FRANCISCO     CA      94114-2010            250
FRANK J HOEKSTRA                                                                                                                                        4540 CANNONSBURG RD NE                                                                  BELMONT           MI      49306-9113             36
SAMUEL ISI & RUTH EVA GRAUDENZ, TTEES    FBO SAMUEL & RUTH LIVING TRUST                                                                                 2900 SHEFFIELD LN                                                                       MODESTO           CA      95350-2467            228
THOMAS N KENNEDY &                       ETTA MARIE KENNEDY JT TEN                                                                                      2609 STRATTON DR                                                                        EDMOND            OK      73013-6529             46
JUNE M MATVICHUK TTEE FBO                JUNE M MATVICHUK TRUST                                                                                         5826 HICKORY RIDGE DR SW                                                                WYOMING           MI      49418-8339            146
KENNETH E. MCCOY                         DONNA M. MCCOY, JTWROS                                                                                         424 RED CEDAR BLVD                                                                      WILLIAMSTON       MI           48895          1,492
DAVID L SCHWEITZER                                                                                                                                      63 MINGES RD W                                                                          BATTLE CREEK      MI      49015-7904            445
MERRILL LYNCH INC CUST FBO               BILLIE S ALEXANDER IRA                                                                                         4802 DEER LAKE DR E                                                                     JACKSONVILLE      FL      32246-6484             84
SOUTHWEST SECURITIES INC FBO             LINDA K BEHM IRA                                                                                               1201 ELM ST STE 3500                                                                    DALLAS            TX      75270-2108          1,483
RICHARD BEHNKE TTEE                      U/A DTD 12/20/83 FBO                     CHRIS BEHNKE TRUST                                                    11301 W OLYMPIC BLVD STE 121                                                            LOS ANGELES       CA           90064            182
KENTUCKY TREASURY DEPARTMENT             UNCLAIMED PROPERTY DIVISION                                                                                    CAPITOL ANNEX, SUITE 183                                                                FRANKFORT         KY           40601            137
ADOLPH ALBERICI CUST                     JANINE ALBERICI FL                       UNIF GIFT MIN ACT                                                     28727 ALESSANDRIA CIR                                                                   BONITA SPRINGS    FL      34135-8277             91
R H & L M BENEDICT TTEES                 FBO BENEDICT TRUST                                                                                             9363 CENTRAL AVE                                                                        ORANGEVALE        CA      95662-4201             91
JOHN F CULHANE                           DOROTHY CULHANE JTWROS                                                                                         7 TERRY CT                                                                              MONTVALE          NJ      07645-2125            182




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               Name                           Name/1st Line Address                  2nd Line Address                3rd Line Address                       4th Line Address                       5th Line Address                       6th Line Address              City       State      Zip       Total Shares
SADIE W. DONALD                                                                                                                             3700 ORCHARD RIDGE DR E                                                                                          SEMMES                AL           36575             91
JUNE L. WEIK                                                                                                                                263 S ROCKY RIVER DR                                                                                             BEREA                 OH      44017-2526            364
SYLVAN EDELSON                                                                                                                              5320 DORSEY HALL DR APT 214                                                                                      ELLICOTT CITY         MD      21042-7866             73
WILLIAM T. HENWOOD &               SHEILA J VAUGHAN JT TEN                                                                                  7321 SAPPHIRE LN                                                                                                 OKLAHOMA CITY         OK      73150-8029             23
VELMA M. ROMAN                                                                                                                              7530 FORT KING RD                                                                                                ZEPHYRHILLS           FL      33541-7700            182
MEDORA JANE SANFORD                                                                                                                         4098 N 4080 W                                                                                                    MACKAY                ID      83251-4512            168
HAROLD SCANTLAND &                 DOLORES SCANTLAND TTEES FBO        HAROLD & DOLORES SCANTLAND TRUST                                      602 ROLICE CT                                                                                                    ENGLEWOOD             OH      45322-2026            364
KENNETH WAYNE JONES, JR.           NANETTE B. JONES, JTWROS                                                                                 PO BOX 4025                                                                                                      GULF SHORES           AL      36547-4025            182
JANE G LUTHER                                                                                                                               5080 SW TECHNOLOGY LOOP APT 141                                                                                  CORVALLIS             OR      97333-1581             75
DONNA MARIE TUNIS                                                                                                                           124 WASHINGTON AVE APT 44                                                                                        LITTLE FERRY          NJ      07643-2063            546
CRAIG A SCHECKER                                                                                                                            6226 W CARIBE LN                                                                                                 GLENDALE              AZ      85306-5212             91
BERNICE N BELL &                   BRUCE C BELL JTWROS                                                                                      13667 FOREST HILL RD                                                                                             GRAND LEDGE           MI      48837-9253            741
MAY JEAN HOUSER                                                                                                                             478 E ALTAMONTE DR STE 108                                                                                       ALTAMONTE SPRINGS     FL      32701-4622            889
NFS LLC CUST                       KENNETH L HOFFMAN IRA                                                                                    PO BOX 3731                                                                                                      NEW YORK              NY      10008-3731          1,122
ARC HOLDINGS COMPANY LLC                                                                                                                    HUNKINS PLAZA MAIN ST BOX 556                                                                                    NEVINS                                           91,565
ROBERT D PIERCE                    CAROL J PIERCE JTWROS                                                                                    4108 MELROSE CT                                                                                                  MELBOURNE             FL      32940-1472            182
H. NORMAN GIPSON                                                                                                                            C/O NITA KAY CARTER (NITA PIERCE CARTER)   INDEPENDENT EXTR, EST OF NORMAN GIPSON1222 COMMERCE ST., APT 911      DALLAS                TX      75202-4353             46
BALANCE ACCOUNT FOR ESCROW SHARES OJETFLEET HOLDING CORP. MERGER                                                                            1 STATE ST FL 30                                                                                                 NEW YORK              NY      10004-1571          2,004
TOM BOEHNEN                        MICHAEL BOEHNEN, JTWROS                                                                                  4469 PINE LAKE DR                                                                                                MEDINA                OH      44256-7642             91
CHONG CHIU &                       WOEN RU CHIU TTEES                 U/A DTD 5/11/90                    FBO CHIU FAMILY TRUST              30772 STEEPLECHASE DR                                                                                            SAN JUAN CAPISTRANO   CA      92675-1924            728
RICHARD COTTOR                                                                                                                              2592A 20TH AVE                                                                                                   OSCEOLA               WI      54020-5923             91
NANCY J BLACKBURN &                TERRY A VIVANI CO PER REPS         ESTATE OF ELAINE J VINIANI                                            8393 EAGLE RIDGE DR                                                                                              WEST CHESTER          OH      45069-4501             46
WAYLANDE G. WAYLAND                BEVERLY J. WAYLAND, JTWROS                                                                               23468 SNELL RD                                                                                                   COLUMBIA STATION      OH      44028-9628            109
ALMA F MYERS &                     OVID T MYERS JT TEN                                                                                      2817 62ND ST                                                                                                     LUBBOCK               TX      79413-5855            396
ROCKFORD INVESTMENT CORPORATION                                                                                                             411 MULBERRY ST                                                                                                  ROCKFORD              IL      61101-1014            182
RUTH E. RUSK                                                                                                                                3150 SW BURLINGAME RD                                                                                            TOPEKA                KS      66611-2071             36
MADELIA SANITATION                                                                                                                          216 BUCK AVE SE                                                                                                  MADELIA               MN      56062-1834            364
EDWARD C JACOBS &                  JEAN L JACOBS TTEES                UA DTD 05/13/00                    THE E & J JACOBS FAM REVOC TRUST   19 POCONO RD APT 368                                                                                             DENVILLE              NJ      07834-2904            182
SNL SECURITIES LP                                                                                                                           1 SNL PLZ                                                                                                        CHARLOTTESVILLE       VA      22902-5150              1
MAVIS STEIDINGER                                                                                                                            1905 N 10TH AVE APT 1                                                                                            WAUSAU                WI      54401-0818            455
M CAROLYN MASTERS                                                                                                                           604 RIVER AVE SW                                                                                                 ROME                  GA      30161-4769          1,078
DIANE RICCIO                                                                                                                                550 MILL RUN                                                                                                     PARAMUS               NJ      07652-1755            182
DORIS E HYATT TTEE                 DORIS E HYATT LIVING TRUST                                                                               9200 SE 167TH FORD ST                                                                                            THE VILLAGES          FL      32162-0022            455
RETIREMENT ACCOUNTS INC CUST FBO   ROBERT M COX IRA                                                                                         PO BOX 7434                                                                                                      INDIAN LAKE ESTATES   FL           33855            593
NATIONAL FINANCIAL SERVICES LLC                                                                                                             NEWPORT OFFICE CENTER III                  499 WASHINGTON BLVD 5TH FL NJ5A                                       JERSEY CITY           NJ      07310-2010            114
KARL SMITH CUST                    KORY N SMITH WA                    UNIF GIFT MIN ACT                                                     12306 50TH AVENUE CT NW                                                                                          GIG HARBOR            WA      98332-7829             23
LISSA WILLIAMS                                                                                                                              6345 FRENCH CREEK CT                                                                                             ELLENTON              FL      34222-5216            364
DELORES E. STARMAN                 SANDRA S. STARMAN, JTWORS                                                                                5360 STRAWBERRY LN                                                                                               WILLOUGHBY            OH      44094-4334            182
STERLING TRUST CO TTEE             FBO SAUNDRA L NICELY - IRA                                                                               PO BOX 5629                                                                                                      PORTLAND              OR      97228-5629            546
NOHN HARVEY BEERY                  SUSAN E. BEERY, JTWROS                                                                                   12040 N CAMPWEST DR                                                                                              DUNNELLON             FL      34433-7703            182
TRACY LYNN TERSTRIEP                                                                                                                        10504 HIGH DRIVE                                                                                                 LEAWOOD               KS           66206             91
BOBBY DWAN MCDILL                                                                                                                           1975 TABERNACLE RD                                                                                               MILLPORT              AL      35576-4205             89
LINDA L BORTHS                                                                                                                              1887 17TH AVE                                                                                                    KENOSHA               WI      53140-1627            118
BARBARA JEAN PAYNE                                                                                                                          6608 POND VIEW RD                                                                                                CLARKSTON             MI      48346-3484            364
TOTALS                                                                                                                                                                                                                                                                                                      1,759,216




                                                                                                                                                        5
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Fill in this information to identify the case:
Debtor name: AeroCentury Corp.
United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                                                                                    Check if this is an
Case number (If known):                                                                                                                                                                                             amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                                                                                                                                                                                                                                   12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in
11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.




Name of creditor and complete                                  Name, telephone number, and                    Nature of the claim           Indicate if        Amount of unsecured claim
mailing address, including zip code                            email address of creditor                      (for example, trade          claim is           If the claim is fully unsecured, fill in only unsecured
                                                               contact                                        debts, bank loans,           contingent,        claim amount. If claim is partially secured, fill in
                                                                                                              professional                 unliquidated,      total claim amount and deduction for value of
                                                                                                              services, and                or disputed        collateral or setoff to calculate unsecured claim.
                                                                                                              government
                                                                                                              contracts)
                                                                                                                                                               Total claim, if        Deduction for                 Unsecured
                                                                                                                                                              partially              value of                       claim
                                                                                                                                                              secured                collateral or
                                                                                                                                                                                     setoff


1    AMERICAN EXPRESS NATIONAL BANK                                                                           PPP LOAN                     CONTINGENT                                                               $              278,715
     (PAYCHECK PROTECTION PROGRAM LOAN #1) PHONE: 801-945-3000
     4315 SOUTH 2700 WEST                  FAX: 801-945-2711
     SALT LAKE CITY, UT 84184              EMAIL: SUPPORT.SBA.PPP@AEXP.COM



2    CUSTOMERS BANK                                                                                           PPP LOAN                     CONTINGENT                                                               $              170,165
     (PAYCHECK PROTECTION PROGRAM LOAN#2)                      PHONE: 833-595-0618
     701 READING AVENUE                                        FAX: 610-374-0161
     WEST READING, PA 19611



3    AMERICAN EXPRESS                                                                                         OFFICE EXPENSES                                                                                       $             6,980.98
     200 VESEY STREET                                          PHONE: 212-640-2000
     WORLD FINANCIAL CENTER                                    FAX: 212-640-0404
     NEW YORK, NY 10285



4    AT&T                                                      C/O BANKRUPTCY                                 TELEPHONE                     DISPUTED                                                                $             5,879.22
     C/O BANKRUPTCY                                            PHONE: 800-235-7524
     4331 COMMUNICATIONS DR                                    FAX: 866-486-8223
     FLOOR 4W
     DALLAS, TX 75211

5    THE IR GROUP                                              DIANE FITZGIBBONS                              PRESS RELEASE /                                                                                       $             1,050.00
     DIANE FITZGIBBONS                                         PHONE: 206-388-5789                            INVESTOR RELATIONS
     2069 211TH AVE. NE                                        EMAIL: DIANEF@THEIRGROUP.COM
     SAMMAMISH, WA 98074



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7




8




9




10




11




12




Official Form 204                                                        Chapter 11 Case: List of Creditors Who Have the 20 Largest Unsecured Claims                                                                                Page 1
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Fill in this information to identify the case:

Debtor name          AeroCentury Corp. et al.

United States Bankruptcy Court for the:             DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not includ ed in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration    Consolidated Corporate Ownership Statement and Equity Security
                                                                           Holders List

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on            03/29/2021                            X /s/ Harold M. Lyons
                                                                       Signature of individual signing on behalf of debtor

                                                                       Harold M. Lyons
                                                                       Printed name

                                                                       Chief Financial Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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